Case 1:11-cr-00188-JLK. .Document.598-2...Filed.06/09/20.... USDC.Colorado....Page.1.of.5

Bureau of Prisons
Health Services

Consultation Request
Inmate Name: HEE, LESLIE RENEE Reg # 37657-013 Complex. CRW
Date of Birth: 03/29/1972 Sex: F

Consultation/Procedure Requested: Rheumatology
Subtype: Rheumatology

Priority: Routine

Target Date: 06/10/2020

Reason for Request:

S: 47 yr old WF with c/o right foot & right hand pain x 6 moths that is not resolved with NSAIDS or Tylenol.
ANA Screen Positive
ANA Titer 147 (positive)
ANA Pattern Cytoplasmic 1:80 H
ANA Nuclear Speckled
PMH: RSD Left Foot, LBP, Cervaicalgia
PSH: Appendectomy, Breast Augmentation, Tonsillectomy
Provisional Diagnosis:

R/O Autoimmune Disorder, Connective Tissue Disorder

Medications (As of 05/05/2020)
Cyanocobalamin (Vit B-12) 1000 MCG/ML Inj 1 ml Exp: 07/20/2020 SIG: Inject 1000 mcg Intra-Muscularly every 2
weeks on Tuesdays clinic ***pill line***

Ibuprofen 800 MG Tab Exp: 07/20/2020 SIG: Take one tablet (800 MG) by mouth three times daily AS NEEDED for
pain "Chronic Care Verified" ortho/rheum Take with food

Allergies (As of 05/05/2020)
Morphine and Related, Morphine and Related, Codeine Phosphate
Health Problems (As of 05/05/2020)

GAF 51 - 70, Psychosocial and environmental problems, Gen psych exam, see health prob fist, Other specified
disorders of joint, Varicose veins, asymptomatic, Neck pain, cervicalgia, Nerve pain, neuralgia neuritis, radiculitis,
Neoplasm of unspecified behavior of bone, soft tissue, and skin, Myopia, Astigmatism, Presbyopia, Basal cell
carcinoma of skin, unspecified, Other fatigue, Encounter for gynecological exam (general) (routine) without abnormal
findings, Vitamin B deficiency, Low back pain, Pain, unspecified, Encounter for general adult medical exam without
abnormal findings

inmate Requires Translator: No Language: .
Additional Records Required:

Comments:
Emailed to UNT on 3/12/2020 SS
Requested By: Fisher, Catherine NP-C

Ordered Date: 03/11/2020 12:23
Scheduled Target Date: 06/10/2020 00:00
Level of Care: Medically Necessary - Non-Emergent

EXHIBIT
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Generated 05/05/2020 09:07 by Price, Deborah RN Bureau of Prisons - CRW Page 1 of 2
 

Report Status: Final

 

 

 

) Quest
Diagnostics” HEE, LESLIE
Patient Information Specimen Information Client Information
HEE, LESLIE Specimen: DLO77534V Client #: 31137
, Collected: 03/05/2020 / 06:45 CST FISHER, CATHERINE N
DOB: 03/29/1972 AGE: 47 Received: 03/06/2020 / 05:47 CST
Gender: F Reported: 03/06/2020 / 21:50 CST

Patient [D: 37657-013

 

 

 

 

    

 

‘ANA SCREEN, IFA, WREFL TITER AND PATTERN ee
ANA SCREEN, IFA 7 : POSITIVE NEGATIVE :
ANA IFA i isa first line screen n for detecting the presence of up to approximately 4150 autoantibodies i in various autoimmune diseases. A positive :

_ ANA IFA result is suggestive of autoimmune disease and reflexes to titer and pattern. Further laboratory testing may be considered if clinically
_ indicated.

For additional information, please refer to http://education.QuestDiagnostics.com/faq/FAQ177 (This link is being provided for informational/
' educational purposes only.)

|ANTINUCLEAR ANTIBODIES TITER AND PATTER a
ANA TITER _ H

A low level ANA titer may ‘be present ir in pre- -clinical autoimmune diseases and ‘normal i individuals.

    

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Reference Range

<1:40 Negative
1:40-1:80 Low Antibody Level
>1:80 Elevated Antibody Level
ANA PATTERN ee oo i , Cytoplasmic a ,

 

i The presence of cytoplasmic fluorescence was noted on the HEp-2 slide. Other reactivities (e. g., _anti- mitochondrial antibodies or anti-
: smooth muscle antibodies) may be responsible for this fluorescence. The clinical significance of this finding is uncertain. Clinical correlation is
_ recommended.

/AC-15 to AC-23: Cytoplasmic

“International Consensus on ANA Patterns (https: doi. org/10. 1515/ecim- 2018- 0052)
ANA TITER _ ~ - : A 80 H oo titer” a

A low level ANA titer may ‘be present ir in pre- -clinical autoimmune diseases and normal individuals.

 

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<1:40 Negative
: 1:40-1:80 Low Antibody Level
i >1:80 Elevated Antibody Level
“ANA PATTERN CUCU - ~ Nuclear, ‘Speckied™ moe m ee rm ins rng ra rn mm nnn enmnms mn sie ane es a

 

| Speckled pattern is associated with mixed connective. tissue disease (MCTD), systemic lu lupus ‘erythematosus (SLE), ‘Sjogren’ s “syndrome,
"dermatomyositis, and systemic sclerosis/polymyositis overlap. (

| AC- 2,4,5,29: Speckled i
_ International Consensus © on n ANA Patterns (https: Hdoi. -org/10. 1515/cclm- 2018- -0052) ©

“Physician Comments:

 

 

PERFORMING SITE:

IG QUEST DIAGNOSTICS-IRVING, 4770 REGENT BLVD., IRVING, TX 75063-2445 Laboratory Director: ROBERT L BRECKENRIDGE,MD, CLIA: 4500697943

CLIENT SERVICES: 866.697.8378 SPECIMEN: DL077534V . PAGE 2 OF 2

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Document 598-2 Filed 06/09/20 USDC Colorado Page 3 of 5

Report Status: Finai

HER, LESLIE

 

‘atient Information
LEE, LESLIE

OB: 03/29/1972
render: F

hone: NG

atient 1D: 37657-0153

AGE: 47

 

 

Specimen:
Requisition: 0081902

Collected:
: Received:

Specimen Information

DLOT7534V

03/03/2020 / 06:45 CST
03/06/2020 / 05:47 CST

~~ | Client Information

  

i
/ Client #: 31137 SOF W600 |
| FISHER, CATHERINE N |
| FMC - CARSWELL
iJ STREET BLDG 3000
FT WORTH, TX 76127

 

 

: Reported: 03/06/2020 / 21:50 CST
|
IMMENTS: 058201040
Test Name In Range Out Of Range Reference Range Lab
SED RATE BY MODIFIED Re:

WESTERGREN

[ENT SER VICES: 866.697.8378

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SPECIMEN: DLO77534V

< OR = 20 mm/h

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Case 1:11-cr-00188-JLK Document 598-2 Filed 06/09/20 USDC Colorado Page 4of5

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Patient Information Specimen Information - __| Client infor 7 ; , _

—— [Specimen: DILO77534V Client #31137
* Wi L gS LIE t . : . . . _ {
HEE, Li Collected: 03/03/2020 / 06:43 CST | FISHER, CATHERINE N !
DOB: 03/29/1972, AGE: 47 |Received: 03/06/2020 / 05:47 CST !
Gender. F iReported: 03/06/2020 / 21:50 CST | |
Patient [D: 37657-013 | :

 

      

4 IFA, L. TITER AND PATTERN oo og
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ANA PATTERN Cytopiasinic

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\C-15 to AC-23: Cytoplasmic

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C-2,4,5,29: Speckled
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hysician Comments:

*~RFORMING SITE:
QUEST DIAGNOSTICS IRVING, 4770 REGENT BIVO.. IRVING, TX 75063-2445 Laboratory Direelor ROBERT L BRECK ENRIDGE.MO, CLIA -sD900700%

JENT SERVICES: 866.697.8378 SPECIMEN: DLO77534V . PAGE 2 OF 2

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TRULINCS 37657013 - HEE, LESLIE RENEE - Unit: CRW-C-E

EE Ie ee ae a me Se Se a oe Bay sn Se Ee tate Saft 8 NSM DSO etn tak EDO Oa BO ik WO We De a ine te etn ab ew

FROM: 37657013

TO: Clinical Director

SUBJECT: “**Request to Staff*** HEE, LESLIE, Reg# 37657013, CRW-C-E
DATE: 04/28/2020 05:38:19 PM

To: Dr. Langham
Inmate Work Assignment: Chapel

Dr. Langham,

 

In late February of this year | received lab results showing | tested positive for Rheumatoid Arthritis and/or Lupus. On March 11,
2020, you approved an offsite appointment to a Rheumatologist for me ordering continued care. Due to these both being

autoimmune diseases | am concerned about my well being and the ramifications of not being able to fight offilliness, namely
COVID-19. Could you please update me on where | stand for care? | appreciate your help, thank you.

 

 

 

 

 

Sincerely,
Leslie. Hee

 

 

 
